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                   UNITED STATES JUDICIAL PANEL
                                   ON
                     MULTIDISTRICT LITIGATION
_____________________________________________________________________

IN RE: KIA HYUNDAI VEHICLE
THEFT MARKETING, SALES,                               MDL No. 3052
SALES PRACTICES, AND
PRODUCTS LIABILITY
LITIGATION
_______________________________________________________________________

              NOTICE OF OPPOSITION TO CONDITIONAL
                      TRANSFER ORDER (CTO-1)
_______________________________________________________________________

      In accordance with Rule 7.1(c) of the Rules of Procedure of the United States

Judicial Panel on Multidistrict Litigation, Plaintiffs Nadia Stanich and Tracy Martinez

submit this opposition to Conditional Transfer Order (CTO-1) as it relates to the

following cases:

      Nadia Stanich v. Kia Motors America, Inc., United States District Court for the
      District of Minnesota, Court File No.: 0:22-cv-02938-KMM-DJF

      Tracy Martinez v. Kia Motors America, Inc., United States District Court for the
      District of Minnesota, Court File No.: 0:22-cv-02963-PJS-DTS

Dated: December 20, 2022                    By: /s/ Todd E. Gadtke
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